
McDONALD, Senior Justice.
We review State v. F.G., 630 So.2d 581 (Fla. 3d DCA 1993), in which the court certified the following question of great public importance:
[Wjhether a claimed procedural error leading up to the entry of a final disposition order in a juvenile delinquency ease renders the disposition “illegal” for purposes of a State appeal under subparagraph 39.-069(l)(b)(5), Florida Statutes (1991).
Id. at 583. We have jurisdiction pursuant to article V, section 3(b)(4) of the Florida Constitution.
The district court ruled that the state cannot appeal such an order, and we agree. We approve the decision under review and adopt the district court’s opinion as our own.
It is so ordered.
GRIMES, C.J., and OVERTON, SHAW, KOGAN and HARDING, JJ., concur.
